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                            UNITED STATES DISTRICT COURT
  16
                          CENTRAL DISTRICT OF CALIFORNIA
  17
  18 STEPHANIE CLIFFORD a.k.a.                 Case No. 2:18-CV-02217-SJO-FFM
  19 STORMY DANIELS a.k.a. PEGGY               REPLY IN SUPPORT OF
       PETERSON, an individual,
  20                                           JOINT EX PARTE APPLICATION
                                               OF DEFENDANTS ESSENTIAL
  21               Plaintiff,
                                               CONSULTANTS, LLC, DONALD J.
             v.
  22                                           TRUMP AND MICHAEL COHEN
                                               FOR A STAY OF THIS ACTION
  23 DONALD J. TRUMP a.k.a. DAVID
     DENNISON, an individual,
  24 ESSENTIAL CONSULTANTS, LLC, a             Assigned for All Purposes to the
                                               Hon. S. James Otero
  25 Delaware Limited Liability Company,
     MICHAEL COHEN, an individual, and
  26 DOES 1 through 10, inclusive,             Action Filed: March 6, 2018
  27
                    Defendants.
  28

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   1 I.      Introduction
   2         Plaintiff’s opposition attempts to distract from the fact that she will suffer no
   3 prejudice if the requested 90-day stay is granted. First, Plaintiff’s attempt to contest
   4 the evidence submitted by Defendants is without merit. Defendants have submitted
   5 admissible evidence of the FBI raid, and the statements and conduct of the U.S.
   6 Attorney and Plaintiff confirm the overlap with this action. Second, the law is clear
   7 that the submission of declarations or making public statements does not waive the
   8 Fifth Amendment privilege; waiver must be knowing and intelligent, which did not
   9 occur here. Third, Plaintiff incorrectly argues that criminal charges are a requirement
  10 for a stay. Where there is a possibility of prosecution, as here, a stay is proper.
  11 Plaintiff’s attorney stated publicly, two days ago, that he believes Mr. Cohen will be
  12 indicted within the next 90 days. For these reasons, and those stated in Defendants’
  13 initial moving papers, the Court should stay this action for 90 days.
  14 II.     Defendants Have Established The Overlap Between The Two Matters
  15         Plaintiff contends that Defendants have not met their evidentiary burden of
  16 establishing the overlap between the facts in the FBI investigation and the facts at
  17 issue in this action. This position is absurd. Mr. Blakely’s declaration, which is
  18 based on his personal knowledge and not merely what has been reported by the
  19 media, confirms that the April 9 FBI raid sought documentation related to the
  20 payment Mr. Cohen made to Plaintiff, which is at issue in this action. Blakely Dec., ¶
  21 1-3. Moreover, statements by the U.S. Attorney leave no doubt of the overlap
  22 between the investigation and the facts in this action. A recent filing by the U.S.
  23 Attorney in proceedings related to the FBI investigation (Cohen v. U.S., S.D.N.Y.
  24 Case No. 18-mj-03161 (“SDNY Action”)) expressly states that Mr. Cohen is under
  25 criminal investigation for offenses and reference communications related to the
  26 payment EC made to Plaintiff. Request for Judicial Notice, Ex. 1, pp. 1, 3-4, fn. 5. A
  27 brief filed by Mr. Cohen’s attorney in the SDNY Action also identified Mr. Cohen’s
  28 communications with Mr. Blakely, regarding this action, as one of the categories of
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   1 documents potentially seized the FBI raid. Request for Judicial Notice, Ex. 2, p. 2.
   2         Plaintiff’s own statements and actions confirm the overlap between the
   3 investigation and this case. Plaintiff’s counsel, Mr. Avenatti, attended the Friday,
   4 April 13, 2018 hearing in the SDNY Action. Immediately thereafter, on the steps of
   5 the courthouse, Mr. Avenatti stated: “My client’s [Plaintiff] documents are some of
   6 the documents which were seized in connection with the search warrants.”
   7 Supplemental Declaration of Brent Blakely (“Supp. Blakely Dec.”), Ex. 3, p. 1. Then,
   8 in an April 15, 2018 interview on CNN about this case and the FBI investigation, Mr.
   9 Avenatti stated Plaintiff would personally attend a hearing in the SDNY Action on
  10 April 16. Supp. Blakely Dec., Ex. 4, p. 8-9. Plaintiff did attend that hearing, and
  11 made a statement to the press on the steps of the courthouse. Supp. Blakely Dec., Ex.
  12 5, p. 1. On April 16, 2018, after the SDNY hearing, Mr. Avenatti appeared on CNN
  13 again and stated that the documents at issue in the SDNY Action are “of utmost
  14 importance” to the instant civil lawsuit case. Supp. Blakely Dec., Ex. 6, p. 7.
  15         Accordingly, it is beyond dispute that the facts underlying this action and
  16 criminal investigation overlap, as Plaintiff and her counsel have confirmed. Mr.
  17 Cohen’s Fifth Amendment rights therefore may be adversely impacted if this case
  18 proceeds. 1
  19
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             1
               The authority cited by Plaintiff for less dramatic measures than a full stay is
  21
       inapposite. In O. Thronas, Inc. v. Blake, 2010 WL 931924 (D. Haw. Mar. 10, 2010), a
  22   request for an indeterminate stay was denied because the court found plaintiff would
       suffer “severe prejudice.” Here, Plaintiff will suffer no prejudice and Defendants are
  23
       only requesting a 90-day stay. In Sec. & Exch. Comm'n v. Braslau, 2015 WL
  24   9591482 (C.D. Cal. Dec. 29, 2015), the stay was denied because defendant had
       “already testified during his criminal trial, and likely addressed many of the issues
  25
       that he will be dealing with in the civil case.” That is not the case here. In Sanrio,
  26   Inc. v. Ronnie Home Textile Inc., 2015 WL 1062035 (C.D. Cal. Mar. 10, 2015), the
       Court denied the motion to stay based upon plaintiffs’ representation they had
  27
       “already developed significant evidence supporting their claims separate and
  28   independent from any testimony or statements required by the individual
             (footnote continued)
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   1 III.    Plaintiff Will Not Be Prejudiced By The Stay
   2         Plaintiff identifies no concrete or legitimate prejudice that she would suffer as a
   3 result of a 90-day stay. She identifies no potential witnesses whose memories may
   4 fade, costs she may incur or other concerns. Instead, Plaintiff cites her ability speak
   5 freely about this matter. Yet this lawsuit has not stopped her ongoing media
   6 campaign to tell her alleged story, including a March 25, 2018 appearance on 60
   7 Minutes and an April 17, 2018 appearance on The View. Supp. Blakely Dec., Ex. 7.
   8 Between the commencement of this action on March 6, 2018 and the date of this
   9 reply, Plaintiff and Mr. Avenatti have appeared on no less than 55 national
  10 televisions shows to tell her story. Id. Plaintiff also cites to the EC arbitration (which
  11 was stayed on April 3, 2018), but is unable to articulate how a 90-day stay of this
  12 action would prejudice her. Supp. Blakely Dec., ¶ 10. Indeed it would not. The
  13 status of this action and the arbitration are not affecting Plaintiff’s decision to speak
  14 publicly, and Plaintiff has not demonstrated how a stay will in any way impact her
  15 current conduct.
  16         Conversely, the prejudice Defendants will suffer if the stay is denied is
  17 substantial, and far outweighs Plaintiff’s concerns. As detailed in Defendants’ initial
  18 papers, there is a substantial risk they would be forced to defend themselves without
  19 the benefit of Mr. Cohen’s testimony, which would be highly prejudicial. 2
  20 IV.     There Has Been No Waiver By Mr. Cohen
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  22 Defendants.” Id. at *3. The opposite is true here. Plaintiff has a pending motion to
  23 expedite Mr. Cohen’s deposition for her opposition to Defendants’ motion to compel
     arbitration. Moreover, the issues Plaintiff seeks to depose Mr. Cohen about in her
  24 motion all relate to the investigation, making an assertion of the Fifth Amendment on
  25 a question by question basis inappropriate and a waste of judicial resources.
             2
  26
              As detailed in Defendants’ initial papers, a stay is appropriate where the Fifth
     Amendment rights of an individual prejudices another’s ability to meaningfully
  27 defend itself. Because this action unquestionably threatens Mr. Cohen’s privilege, a
  28 stay is appropriate as to EC and Mr. Trump since he is a key witness for them.
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   1        Any waiver of the Fifth Amendment must be voluntary as well as knowing and
   2 intelligent. Colorado v. Spring, 479 U.S. 564, 572 (1987); Moran v. Burbine, 475
   3 U.S. 412, 421 (1986). The waiver must be both “voluntary in the sense that it was the
   4 product of a free and deliberate choice” and knowing in that it “must have been made
   5 with a full awareness both of the nature of the right being abandoned and the
   6 consequences of the decision to abandon it.” Spring, supra, 479 U.S. at 573.
   7 Furthermore, “[a] waiver of the Fifth Amendment privilege at one stage of a
   8 proceeding is not a waiver of that right for other stages.” United States v. Trejo-
   9 Zambrano, 582 F.2d 460, 464 (9th Cir. 1978).
  10        Here, Mr. Cohen did not waive his Fifth Amendment privilege through his
  11 prior conduct. First, the two declarations made by Mr. Cohen in this action were filed
  12 before it was known that there was an investigation related to the facts in this action.
  13 The first declaration [Dkt. No. 20-5] was filed on April 2, 2018, one full week before
  14 the April 9 FBI raid; the second declaration [Dkt. No. 31-2] was filed mere hours after
  15 the FBI raid commenced, before it was known that the FBI search included
  16 documents related to EC’s payment to Plaintiff. Supp. Blakely Dec., ¶ 11. Under
  17 these circumstances, there could be no knowing or intelligent waiver of the privilege.
  18        Second, the submission of declarations at this stage of the case does not
  19 constitute a waiver of Mr. Cohen’s privilege in this action. Mr. Cohen’s Fifth
  20 Amendment rights may still be adversely impacted by this action, which compels the
  21 issuance of the requested stay. See Square 1 Bank v. Lo, 2014 WL 7206874, at *3
  22 (N.D. Cal. Dec. 17, 2014) (prior submission of affidavit did not waive Fifth
  23 Amendment privilege and granting of stay).
  24        Third, unsworn public statements made outside of judicial proceedings, such as
  25 the ones Plaintiff alleges Mr. Cohen made, do not have any bearing on Fifth
  26 Amendment rights in this case. See Jones v. Conte, 2005 WL 1287017, at *1 (public
  27 statements did not constitute waiver and granting stay); U.S. v. Licavoli, 604 F.2d
  28 613, 623 (9th Cir. 1979) (“It is settled that a waiver of the Fifth Amendment privilege
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   1 is limited to the particular proceeding in which the waiver occurs.”)
   2 V.      No Indictment Is Necessary For A Stay
   3         Contrary to Plaintiff’s assertion, and as detailed in Defendants’ initial moving
   4 papers, there is no requirement to demonstrate that criminal charges have actually
   5 been filed as a prerequisite for a stay. “A valid assertion of the privilege does not
   6 require an imminent criminal prosecution or investigation: The right to assert one’s
   7 privilege against self-incrimination does not depend upon the likelihood, but upon the
   8 possibility of prosecution.” Englebrick v. Worthington Indus., Inc., 670 F. Supp. 2d
   9 1048, 1050 (C.D. Cal. 2009) (emphasis added). As stated by Plaintiff, “[a] witness
  10 justifiably claims the privilege if he is confronted by substantial and real, and not
  11 merely trifling or imaginary, hazards of incrimination.” Earp v. Cullen, 623 F.3d
  12 1065, 1070 (9th Cir. 2010) (internal quotations omitted).
  13         When courts decline to issue a stay where there are no criminal charges it is
  14 because whether and when an indictment will issue is unknown, which may result in
  15 an indefinite stay. eBay, Inc. v. Digital Point Sols., Inc., 2010 WL 702463, at *4
  16 (N.D. Cal. Feb. 25, 2010). That is not the case here: Defendants are not requesting an
  17 indefinite stay; they are only requesting a 90-day stay, which is reasonable when
  18 weighed against the lack of prejudice Plaintiff would suffer by this short delay.
  19         Plaintiff’s counsel has confirmed that there is nothing speculative or illusory
  20 about the risks of this investigation—he has publicly stated: “I strongly believe that
  21 within the next 90 days we will see an unsealing of an indictment against Mr.
  22 Cohen for a host of very serious offenses.” Supp. Blakely Dec., Ex. 4, p. 7.
  23 Accordingly, there can be no dispute that a 90-day stay is reasonable and appropriate
  24 even though no formal charges have been brought at this time. See Delphi
  25 Connection Sys., LLC v. Koehlke Components, Inc., 2012 WL 12895670 (C.D. Cal.
  26 Oct. 17, 2012); Estate of Limon v. City of Oxnard, 2013 WL 12131359 (C.D. Cal.
  27 Dec. 10, 2013); Chao v. Fleming, 498 F. Supp. 2d 1034 (W.D. Mich. 2007); S.E.C. v.
  28 Healthsouth Corp., 261 F.Supp.2d 1298 (N.D.Ala.2003).
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   1 Dated: April 17, 2018                 BLAKELY LAW GROUP
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                                           By: /s/ Brent H. Blakely
   3                                           BRENT H. BLAKELY
   4                                          Attorneys for Defendants
                                              ESSENTIAL CONSULTANTS, LLC and
   5                                          MICHAEL COHEN
   6
   7 Dated: April 17, 2018                 HARDER LLP
   8
   9                                       By: /s/ Charles J. Harder
                                               CHARLES J. HARDER
  10                                          Attorneys for Defendant
  11                                          DONALD J. TRUMP

  12        Pursuant to Local Rule 5-4.3.4, I Brent H. Blakely, hereby attest that all other
  13 signatories to this Reply, and on whose behalf it is submitted, concur in its content
  14 and have authorized its filing.
  15
  16 Dated: April 17, 2018
  17
                                                    /s/ Brent H. Blakely
  18                                                BRENT H. BLAKELY
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